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  John D. Penn
  Texas Bar No. 15752300
  PERKINS COIE LLP
  500 N. Akard Street, Suite 3300
  Dallas, Texas 75201
  TEL: (214) 965-7700
  FAX: (214) 965-7799
  Email: jpenn@perkinscoie.com

  Counsel for Buaite Againn, LLLP

                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   IN RE:                                             §
                                                      §
   JOHN HILBURN DAVIS, IV,                                Case No. 21-10970-HCM
                                                      §
                                                      §
            Debtor.                                       Chapter 7
                                                      §
                                                      §

                            NOTICE OF RULE 2004 EXAMINATION

           Counsel for Buaite Againn, LLLP will examine the following person under oath, at the

  date, time, and location set forth herein. The examination is being conducted pursuant to Federal

  Rules of Bankruptcy Procedure 2004 and Local Rule 2004 and will be taken before an officer

  authorized to record the testimony. The scope of the examination shall be as described in Federal

  Rule of Bankruptcy Procedure 2004. Pursuant to Local Rule 2004(c), no order shall be necessary.

           Examinee:     Digital Brands Group, Inc.

           Date:         April 21, 2022

           Time:         9:30 a.m.

           Location:     405 Colorado Street, Suite 1700
                         Austin, Texas 78701

           The list of topics upon which the Examinee must provide one or more witnesses (as

  outlined on the reverse of the subpoena to be served upon the Examinee) is attached hereto and is


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  located on the page for Examination Topics. The examination may continue from day to day until

  completed and the chapter 7 trustee, or other parties in interest, may attend and ask questions. If

  the Examinee receives this notice less than 14 days prior to the scheduled examination date, the

  examination will be rescheduled upon timely request to a mutually agreeable time. Pursuant to

  Local Rule 2004(b), any objection must be filed within seven (7) days of service of this notice.

                                  REQUEST FOR PRODUCTION

           The examinee shall produce those documents, records, and tangible things listed in Exhibit

  A attached to this notice on or before Noon on April 13, 2022, and may contact John D. Penn,

  Esq. at (214) 965-7734 or jpenn@perkinscoie.com to coordinate such production.

   Dated: March 21, 2022                            Respectfully submitted,



                                                    /s/ John D. Penn
                                                    John D. Penn
                                                    Texas Bar No. 15752300
                                                    Perkins Coie LLP
                                                    500 N. Akard Street, Suite 3300
                                                    Dallas, Texas 75201
                                                    Phone: (214) 965-7734
                                                    Fax: (214) 965-7784
                                                    Email: jpenn@perkinscoie.com

                                                    Counsel for Buaite Againn, LLLP




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                               CERTIFICATE OF CONFERENCE

          The undersigned hereby certifies that, following inquiry to the attorney for the Debtor (who
  serves as the Chief Executive Officer of the proposed examinee), I communicated with the attorney
  who had been identified as the attorney for Digital Brands Group, Inc. by providing drafts of this
  Notice and the attachments hereto. The attorneys for the Debtor and the Chapter 7 Trustee were
  copied on the electronic mail message.

         More than ten (10) days later, in response to a follow up message, the attorney replied that
  “While we are corporate/securities counsel to the company we are not representing the company
  in connection with this action.” That attorney copied counsel for the Debtor and Chapter 7 Trustee
  on his message. (Since the attorney did note that his firm was not representing the Examinee in
  this matter and did provide the same information to the attorneys for the Debtor and the Chapter 7
  Trustee, his name and contact information are not included in this filing.)

          A follow up message to the Debtor’s attorney did not provide a name of an attorney who
  would represent the Examinee with respect to this Rule 2004 Examination so Buaite Againn, LLLP
  is proceeding by notice and subpoena rather than by agreement.


                                                /s/ John D. Penn
                                                John D. Penn




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on March 21, 2022, a true and correct copy of the
  foregoing was served upon all parties authorized to receive notice in this case via the Court’s
  Electronic Case Filing system, as well as personally, upon the entity listed below.

  Service List

   National Registered Agents, Inc.,              The personal service included this Notice, the
   as registered agent for                        attachments hereto and a subpoena issued
   Digital Brands Group, Inc.                     pursuit to this Notice and Local Bankruptcy
   1999 Bryan Street, Suite 900                   Rule 2004
   Dallas, Texas 75201



  A copy of the foregoing was also mailed to the Debtor at the addresses noted on his voluntary
  petition by first class mail, postage prepaid:

  John Hilburn Davis IV
  205 Tellus Street
  Lakeway, Texas 78734

  John Hilburn Davis IV
  1400 Lavaca Street
  Austin, Texas 78701



                                                            /s/ John D. Penn

                                                            John D. Penn




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                       p     for Rule 2004 Examination)) (Page
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                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                      ________________________________________________
                                                                                            Server’s signature

                                                                      ________________________________________________
                                                                                          Printed name and title


                                                                      ________________________________________________
                                                                                            Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                               EXHIBIT A

                                             DEFINITIONS

           1.     As used herein, the terms “all,” “any,” and “each” shall each be construed as

  encompassing any and all.

           2.     As used herein, the connectives “and” and “or” shall be construed either

  disjunctively or conjunctively as necessary to bring within the scope of the discovery request all

  responses that might otherwise be construed to be outside of its scope.

           3.     As used herein, the term “Communication” means the transmittal of information

  (in the form of facts, ideas, inquiries, or otherwise).

           4.     As used herein, the term “concerning” means relating to, referring to, describing,

  evidencing, or constituting.

           5.     As used herein, the term “Date” means the exact day, month, and year, if

  ascertainable, or the best available approximation, including relationship to other events (designate

  whether exact or approximate).

           6.     As used herein, the term “Debtor” means John Hilburn Davis, IV.

           7.     As used herein, the term “Document” is defined to be synonymous in meaning and

  equal in scope to the usage of the term “documents or electronically stored information” in FRCP

  34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of this term.

           8.     As used herein, the term “DBG” means (a) Digital Brands Group, Inc., in its

  individual capacity; (b) any person or entity acting for or on behalf of DBG in any capacity; and

  (c) any entities merged into DBG and (d) DBG under any prior names. DBG specifically includes

  Denim.LA, Inc.

           9.     As used herein, the term “Transfer” means a conveyance of anything of value,

  including without limitation money, property, and any other forms of recompense.


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           10.    As used herein, the term “Government Agencies” means any governmental and

  quasigovernmental body or agency, state or federal, including without limitation the Department

  of Justice and the Office of the United States Trustee for Region 7.

           11.    When referring to a person, “to identify,” as used herein, means to give, to the

  extent known, the person’s full name, present or last known address, and when referring to a

  natural person, additionally, the present or last known place of employment. Once a person has

  been identified in accordance with this subparagraph, only the name of that person need be listed

  in response to subsequent discovery requesting the identification of that person.

           12.    When referring to Documents, “to identify,” as used herein, means to give, to the

  extent known, the (a) type of document; (b) general subject matter; (c) date of the document; and

  (d) author(s), addressee(s) and recipient(s). In the alternative, the responding party may produce

  the documents, together with identifying information consistent with Bankruptcy Rule 7033 and

  Fed. R. Civ. P. 33(d).

           13.    As used herein, the term “including” means including, but not limited to.

           14.    As used herein, the term “person” is defined as any natural person or any legal

  entity, including any business or governmental entity or association.

           15.    The use of the singular form of any word includes the plural and vice-versa.

           16.    The singular form of any noun shall be deemed to include the plural, and vice-versa.

           17.    The use of a verb in any tense shall be construed as the use of the verb in all other

  tenses and the singular form shall be deemed to include the plural, and vice-versa.

                               UNAVAILABILITY OF DOCUMENTS

           To the extent a document is sought herein and such document was, but is no longer in your

  possession, or subject to your control, or in existence, state whether it (i) is missing or lost, (ii) has




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  been destroyed, (iii) has been transferred, voluntarily or involuntarily to others, or (iv) has been

  otherwise disposed of and, in each instance, explain the circumstances surrounding and

  authorization for such disposition thereof; state the date or approximate date thereof; the contents

  of said document; and the person who authorized the transfer, destruction or other disposition of

  said document. Documents prepared prior to, but which relate or refer to, the time period covered

  by these document requests are to be identified.

                                            PRIVILEGE

           Identify, by date, author, recipient, distribution list and subject matter, each document

  which is responsive to a specific document request, but which you will not produce based upon

  the assertion of a claim of privilege, attorney’s work-product, or other asserted justification for

  non-production, and with respect thereto, specifically identify the alleged privilege asserted for

  each document.




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                                  SCHEDULE OF DOCUMENTS

  Unless otherwise specified, the time frame for all requests begins on January 1, 2017 and
  continues each year through the present.

         1.     Itemization of all payments to and received from the Debtor for any purposes,
  including compensation, expense reimbursement, remuneration, and benefits of any kind. This
  includes accounting entries that merely offset obligations to or from the Debtor.

          2.     All payroll records for the Debtor, including ledger(s) listing all obligations and
  payments of salary (or other compensation or remuneration) payments made to or for the benefit
  of the Debtor.

          3.     Tax reports, including W-2s, IRS Form 1099, State of California employment
  reports and any similar reports regarding all payments made to, or for the benefit of, the Debtor.

          4.     All documents reflecting or referring to the issuance, ownership, and disposition of
  options to purchase stock or other securities (whether or not such options had been exercised) that
  were in existence during 2017 and subsequent years and were owned (or held for the benefit of)
  the Debtor and / or Holly Davis (the Debtor’s former wife). This includes “OG-70, Holly Davis,
  for 1,333,334 shares” reported as being granted on March 1, 2018 with a strike price of $0.21 and
  disclosed in a filing with the Securities Exchange Commission and available at
  https://www.sec.gov/Archives/edgar/data/1668010/000110465921049405/tm2038877d2_ex10-
  13.htm (being Exhibit 10.13 to Amendment 5 to Form S-1 filed on May 12, 2021 referring to
  Amendment No. 5 to Senior Credit Agreement & Security Agreement).

          5.     All documents listing payments to any person or entity for the benefit of the Debtor,
  including payments of personal living expenses of any kind as full or partial satisfaction of the
  obligation to pay salary, benefits, or other compensation to the Debtor. This specifically includes
  payments to or for the benefit of the Debtor’s children and / or the Debtor’s children.

          6.     Copies of all leases of residential real property used by the Debtor in whole or in
  part as a residence. This includes residential real property in Texas, California and any other
  location(s).




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                                      DEPOSITION TOPICS

          1.    The documents requested herein, including the contents and information contained
  in those documents.

          2.     The nature of any relationship, arrangement, or agreement by and/or between DBG
  and the Debtor concerning the transfer of any assets (tangible or intangible) from Debtor to DBG,
  or for DBG’s use of any of Debtor’s assets, or any payment or other consideration that the Debtor
  has received for all such transfers and/or use.

          3.      The nature of any relationship, arrangement, or agreement by and/or between DBG
  and the Debtor concerning the transfer of any assets (tangible or intangible) from DBG to Debtor,
  or for Debtor’s use of any of DBG’s assets, or any payment or other consideration that DBG has
  received for all such transfers and/or use.

        4.   The nature of any relationship, arrangement, agreement, or proposal concerning
  DBG’s payment for or sharing of the personal expenses of the Debtor.

          5.     The facts and circumstances concerning all payments to and received from the
  Debtor for any purposes, including compensation, expense reimbursement, remuneration, and
  benefits of any kind. This includes accounting entries that merely offset obligations to or from the
  Debtor.

          6.     Any agreements and other arrangements concerning DBG’s obligations and
  payments of salary (or other compensation or remuneration) payments made to or for the benefit
  of the Debtor.

          7.     The facts and circumstances surrounding the issuance, ownership, and disposition
  of options to purchase stock or other securities (whether or not such options had been exercised)
  that were in existence during 2017 and subsequent years and were owned (or held for the benefit
  of) the Debtor and / or Holly Davis (the Debtor’s former wife). This includes “OG-70, Holly
  Davis, for 1,333,334 shares” reported as being granted on March 1, 2018 with a strike price of
  $0.21 and disclosed in a filing with the Securities Exchange Commission and available at
  https://www.sec.gov/Archives/edgar/data/1668010/000110465921049405/tm2038877d2_ex10-
  13.htm (being Exhibit 10.13 to Amendment 5 to Form S-1 filed on May 12, 2021 referring to
  Amendment No. 5 to Senior Credit Agreement & Security Agreement).

          8.       The facts and circumstances surrounding any and all payments to any person or
  entity for the benefit of the Debtor, including payments of personal living expenses of any kind as
  full or partial satisfaction of the obligation to pay salary, benefits, or other compensation to the
  Debtor.

         9.      The nature of DBG’s obligations under leases of residential real property used by
  the Debtor in whole or in part as a residence. This includes residential real property in Texas,
  California and any other location(s).




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